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                      EXHIBIT 3
                      Filed with Redactions
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                               Case No. 14-md-2542



Plaintiffs’ Motion for Spoliation Sanctions Against Keurig (ECF No. 1282)

                     The Honorable Sarah L. Cave
                                   January 11, 2022


                                                                                        1
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 Legal Standard for
Spoliation Sanctions




                                                                         2
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      Federal Rule of Civil Procedure 37(e)
   (e)                                                         . If
    electronically stored information that should have been preserved in
    the anticipation or conduct of litigation is lost because a party failed to
    take reasonable steps to preserve it, and it cannot be restored or
    replaced through additional discovery, the court:
      (1) upon finding prejudice to another party from loss of the
        information, may order measures no greater than necessary to cure
        the prejudice; or

      (2) only upon finding that the party acted with the intent to deprive
        another party of the information’s use in the litigation may:

           (A) presume that the lost information was unfavorable to the party;

           (B) instruct the jury that it may or must presume the information was
             unfavorable to the party; or

           (C) dismiss the action or enter a default judgment.



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                                                                       Rule 37(e) Prerequisites
                                                           Advisory Committee Notes Underscore the
                                                        Four Prerequisites Before Assessment of Sanctions

                                1. ESI is lost




                                2. ESI should have been preserved in the anticipation
                                       or conduct of litigation




SOURCE: Fed. R. Civ. P. 37, advisory committees’ note                                                                              4
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                                                                     Rule 37(e) Prerequisites


                                3. ESI was lost because the party failed to take reasonable steps to
                                       preserve the information




SOURCE: Fed. R. Civ. P. 37, advisory committees’ note                                                                            5
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                                                                     Rule 37(e) Prerequisites


                                4.       ESI has not been restored or replaced through additional discovery




SOURCE: Fed. R. Civ. P. 37, advisory committees’ note                                                                            6
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                                                             Rule 37(e)(1) Requires Prejudice

                                 Finding of prejudice to another party from the loss of the information




                                 Upon finding prejudice, may employ measures “no greater than necessary
                                    to cure the prejudice”




                                 No sanction is justified unless all prerequisites are satisfied and, even then,
                                    only to cure the prejudice

SOURCE: Fed. R. Civ. P. 37, advisory committees’ note                                                                            7
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                                                        Rule 37(e)(2) Requires Intent to Deprive




SOURCE: Fed. R. Civ. P. 37, advisory committees’ note                                                                            8
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                       Plaintiffs’ Allegations

         1.    ESI Spoliation (Hard Drives)
         2.    2012 Mike Degnan Email
         3.    Challenges to Custodian Interviews
         4.    Handwritten Notes
         5.    Past Discovery Issues
DDPs            ̶ Transactional Data

                ̶ Privilege Dispute

                ̶ CommVault




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No Sanctions Are Warranted for Any Alleged Loss of ESI on Hard Drives




   Plaintiffs ignore Keurig’s extensive efforts to preserve ESI for the
    litigation, including efforts to search and restore sources of ESI unlikely
    to contain non-duplicative material, such as hard drives
   Plaintiffs’ so-called proof actually demonstrates no lost unique and
    material evidence on hard drives
   No prejudice from the loss of any ESI as required under Rule 37(e)(1)

   No intent to deprive Plaintiffs of evidence in this litigation as required
    under Rule 37(e)(2)



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                                                The Litigation Timeline


 Feb. 11, 2014                                Sept. 27, 2016                  Nov. 29, 2017
 First Complaint                         Order: Initial Disclosures           Motions to Dismiss
 (TreeHouse) filed                      and custodian identification          denied (ECF 379)
                                        14 days after MTD decision
 Feb. 17, 2014                                  (ECF 345)
 Keurig issues 430                                                                Jan. 30, 2018                       June 2020
 hold communications                                                              Commencement of fact               Fact discovery
                                                                                  discovery (ECF 354-1, 379)              ends
            Sept. 3-4, 2014
            Preliminary Injunction
            Hearing                                                                                  Jan. 11, 2019
                                                                                                     McLane files
                                                                                                     Complaint
     2014                2015                 2016                     2017            2018                2019           2020

                              June 2014 – Dec. 2017
                             Discovery stayed pending
                           decision on Motions to Dismiss
July - Aug. 2014
Limited expedited
    discovery


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Keurig Preserved, Collected, and Produced
Responsive Documents from 54 Custodians

 Original 29 Keurig custodians named in December 2017
  and January 2018
    ̶   Plaintiffs knew 23 were former employees

 Additional 12 added at Plaintiffs’ request in October 2018
    ̶   Plaintiffs knew 11 were former employees

 Another 10 added for McLane case in May 2019
    ̶   Plaintiffs knew 8 were former employees

 Another 3 added during discovery
    ̶   Plaintiffs knew 2 were former employees

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Keurig’s Extensive Efforts to Preserve ESI and Other Material

           700 Litigation Holds: 430 litigation hold communications
            within 6 days of TreeHouse complaint; later expanded
            to nearly 300 additional employees

           Coordination Among Outside Counsel/In-House Counsel/Keurig IT

           Email Archiving:

              ̶   CommVault Journaling (May 2011-2016): retained any sent or
                  received email regardless of whether the employee deleted the
                  email from his/her mailbox

                   • Expensive + time-consuming process, producing more than
                      1,000,000 emails from CommVault

              ̶   Office365 (2016-Present): Keurig transitioned to Office365 in
                  2016 and utilizes litigation hold feature for employees under hold


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Keurig’s Extensive Efforts to Preserve ESI and Other Material

           Other ESI Sources: Preserved/collected from custodial files, including
            “home share” (network drive where employees were instructed to save
            documents), centralized files and databases, and 14,700 shared folders
            located on Keurig’s X: and H: drives

           Employee Attrition: Policies to preserve data when employees
            left Company

              ̶   Computer script packaged up data, including employee’s email and
                  “home share” and preserved the data on Keurig’s network

              ̶   Retained hard drives and computers in designated locations

           Data Transfer: Preserved old hard drives when current employees
            upgraded computers, even though data was transferred to new
            computer


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          Keurig’s Massive Discovery Efforts

   Keurig produced more than 3,800,000 documents
    (more than 11,000,000 pages)
      ̶   Spanning 9 years from 2009-2017
      ̶   In response to 367 RFPs from Plaintiffs
      ̶   Includes documents from all 54 custodians, plus 100’s of non-custodial
          sources negotiated by parties

   Keurig also produced more than 7,000,000 pages from prior litigations
   200 fact depositions, including 23/30 custodians complained about
   432 document subpoenas, resulting in another 1,200,000 documents,
    including from Walmart, Ahold, Kroger, Giant Eagle, Wakefern
   Dozens of meet-and-confers, including 36 in first 5 months after parties’
    initial conference with Judge Pitman
   Intensive back-and-forth with Plaintiffs
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Custodian Hard Drives




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Keurig Preserved and Collected Hard Drives

Keurig preserved and collected 99 custodian hard drives

   Only 6 could not be imaged due to physical damage
      •   Billings, Huang, DuLong, Rathke, Stacy and Shepard
      •   Extraordinary measures taken for Rathke’s and Stacy’s drives

   Of the 93 successfully imaged hard drives, 10 could not be decrypted
      •   Keurig successfully decrypted 11 drives with old McAfee encryption and
          produced documents
      •   Successfully decrypted at least 62 drives with Bitlocker encryption and
          produced documents

      •   Also produced documents from drives with no encryption




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             Keurig Offered – and Performed – Remedial Measures for
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                     Encrypted, Lost, or Damaged Hard Drives
   30(b)(6) Witness on Preservation/Collection – Not to Count Against Deposition Hours
      Kevin Campbell deposed for 7 hours on February 26, 2020, ECF 1635-6

   Production of Chain-of-Custody Records + Summary of Vendor’s Efforts
      Provided vendor’s letter summarizing device collection on June 3, 2019, ECF 1284-17
      Provided vendor chain-of-custody records and additional documentation on June 12 and 14, 2019
      2-hour counsel call on June 5, 2019 to review details of production and devices
      1-hour vendor-to-vendor call on June 13, 2019

   Gave Hard Drives to TreeHouse’s Vendor for Analysis
      TreeHouse elected to take possession of 5 hard drives for vendor analysis in October 2019, ECF 1284-40

   Payment of Vendor Fees for Successful Imaging or Decryption Via Ordinary Means
      TreeHouse unable to image hard drives of Billings, DuLong, Rathke, Shepard, and Stacy via ordinary means
      TreeHouse opts for extraordinary measures for Rathke & Stacy hard drives but recovers no unique and
        material documents
      TreeHouse takes no further action to recover other documents from encrypted hard drives
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                                   Inaccessible or Lost Hard Drives Unlikely to
                                    Contain Unique and Material Documents

               Plaintiffs say in the Stipulation that Keurig’s counsel acknowledged that Keurig
                 employees stored documents in various places – including “. . . their hard drives,”
                 citing to ECF 1284-45/Pls. Ex. 45. (Stip, ¶ 102),

               But the complete quote from Keurig’s counsel in that exhibit shows otherwise:




SOURCE: ECF 1284-45, Pls. Ex. 45                                                                              19
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                  Plaintiffs’ Claimed Proof of “Highly Relevant Unique Documents”

                                                         Reply points to two documents as specific proof of
                                                          “highly relevant unique documents” stored on hard
                                                          drives




                                                         Neither are unique
                                                            ̶   Plaintiffs’ Exhibit N, ECF 1402-7, was also produced
                                                                from Ron DiFabio emails

                                                            ̶   Plaintiffs’ Exhibit O, ECF 1402-8, was also produced
                                                                from TJ Whalen emails and also collected from a
                                                                Keurig shared file and de-duplicated per the
                                                                parties’ agreement
SOURCE: Reply Brief (ECF 1390)                                                                                         20
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    Keurig Produced “Highly Relevant Unique Documents” From Multiple Sources
        Competitive Landscape PPT - ECF 1402-7,                                        Competitive Landscape PPT Duplicate
          Pls. Ex. N, KGM01941436 (Gallagher)                                               KGM08902493 (DiFabio)




SOURCE: ECF 1402-7, Ex. N, KGM01941436; KGM08902493                                                                          21
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    Keurig Produced “Highly Relevant Unique Documents” From Multiple Sources
                 BOD Memo – ECF 1402-8,                                                           BOD Memo Duplicate
           Pls. Ex. O, KGM02728736 (Wettstein)                                                      KGM027228671




SOURCE: ECF 1402-8, Ex. O, KGM02728736; KGM027228671                                                                   22
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   Duplicates Can Be MD5 Hash Value/Technical or Substantive


 A document need not be a technical or MD5 Hash Value duplicate to
  be a substantive duplicate

 Identical documents can have different MD5 Hash Value for reasons
  having nothing to do with substance

 The “difference” can be from saving a file at a different time or in a
  different location, different sent/received times by seconds, different
  operating systems (Mac v. PC), but the substance exactly the same

 Documents from Shepard/Whoriskey and Wettstein/Crosson reveal
  different MD5 Hash Value but substantive duplicates



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Duplicates Can Be MD5 Hash Value/Technical or Substantive
 Shepard PowerPoint                                              Whoriskey PowerPoint




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Duplicates Can Be MD5 Hash Value/Technical or Substantive
Wettstein PowerPoint                                               Crosson PowerPoint




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Encrypted Hard Drives




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          Keurig Produced from Duplicative and Overlapping
                  Sources for Encrypted Hard Drives

 Keurig produced documents from network drives for all 9 custodians – Brown,
  Cote, Crites, DiFabio (2 devices), Ferreira, Manly, Novak, Tinkler, Wettstein

 Keurig produced documents from shared folder where Brown testified he stored
  his business documents

 Crites left Keurig almost a year before case filed; Keurig produced 50,138
  documents from his custodial files, including from his home share, and
  thousands related to Bigelow (alleged TreeHouse lost customer)

 Keurig preserved, collected, and produced responsive documents from
  later-in-time hard drives for Cote, DiFabio, Ferreira, Manly, Novak, Tinkler
  and Wettstein



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                                        The Encryption Timeline


                                                      Feb. 11, 2014              Jan. 30, 2018                                June 2020
                                                      First Complaint            Commencement                                 Fact
                                                      (TreeHouse) filed          of Fact Discovery                            Discovery
                                                                                 (ECF 354-1, 379)                             Ends

                                                                                                      April 17, 2018
                         Q1 2012          Q4 2013                                                     Keurig accesses
                      Keurig Begins       Bitlocker                                                   McAfee server and
                       Transition of     Transition                                                   provides McAfee
                      Computers to         Nears                                                      decryption keys
                         Bitlocker       Completion                                                   to D4 (ECF 1284-17)



2009   2010       2011         2012       2013        2014        2015       2016       2017         2018      2019         2020
       Sept. 2009 – 2012




                                                                                                                                     28
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                                  Plaintiffs Stipulated that Keurig Decyrpted and
                                 Produced Documents from Preserved Hard Drives




SOURCE: Stip, ¶ 143 (ECF 1632)                                                                                  29
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  Plaintiffs Received Substantial Number
   of Documents from these Custodians

                       Custodial Documents
                        Produced by Keurig
                                101,905
                                 89,206
                                 50,138
                                280,105
                                141,913
                                151,285
                                 76,667
                                201,020
                                 61,272

                                                                          30
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Custodians With Hard Drives
        Not Located




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Keurig Produced from Duplicative and Overlapping
       Sources for Hard Drives Not Located

      Keurig was unable to locate hard drives for 8 custodians – Barberio,
       Godfrey, Holly, Hurley, Mueller, Smits, Stevens, Tidwell + the empty
       Wettstein laptop

      Holly, Smits, and Stevens left Keurig before Plaintiffs filed this lawsuit so
       before any preservation obligation

      Keurig produced documents from four of Wettstein’s hard drives,
       including his last-in-time

      Keurig produced documents from emails for Barberio, Godfrey, Hurley,
       Mueller and Tidwell and home shares where available
         ̶   Keurig added additional custodian (supervisor Travis) for Mr. Barberio to
             resolve any concern (25,813 custodial files)
         ̶   In addition to supervisor Ferguson already a custodian (80,797 custodial files
             through June 2014)
                                                                                              32
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Plaintiffs Stipulate that They Received Substantial Number
            of Documents from these Custodians



                                          21,533                        11,444
                                        109,594                       108,841
                                           8,921                            289
                                        109,431                         85,808
                                          34,301                        18,139
                                          13,657                         8,561
                                          59,230                        58,681
                                          44,863                        36,627
                                          61,272                        53,613


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                                                            Don Holly: Fact vs. Fiction

                                                Fiction: Holly’s computer “might have been retrievable but for Keurig’s
                                                failure to contact him before his deposition in 2020,” ECF 1390 at 4

                                               Fact: Holly was not a custodian until ordered by the Court on a limited
                                                basis in February 2020—7 years after he left Keurig

                                                Fiction: Keurig failed to produce Holly documents related to Groupo
                                                Phoenix, as Plaintiffs obtained them only from the third party

                                               Fact:
                                                    ̶   Holly is not even on the four documents that Plaintiffs cite in the Stipulation
                                                        as evidence of missing Holly documents;1 not produced by Keurig because
                                                        no custodian on the document
                                                    ̶   All four were sent after Holly left Keurig in October 2013
                                                    ̶   Keurig produced Mr. Holly’s email communications with Curwood, Phoenix
                                                        Cups and Winpak, consistent with the Court’s February 4, 2020 Order, ECF
                                                        733
FN1   See ECF 1287-25; 1635-7; 1635-8; 1635-9                                                                                             34
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                  Bruce Godfrey: Fact vs. Fiction

    Fiction: Godfrey’s hard drive would have been a source of documents
     related to his June 2016 memo

   Fact: Keurig collected the memo from at least 3 sources and produced it
     multiple times

    Fiction: Plaintiffs did not receive drafts of the June 2016 memo

   Fact: Plaintiffs’ Ex. 13, ECF 1287-6, is a draft memorandum from Bruce
     Godfrey, dated June 1, 2016 in the metadata

      ̶      Subsequently revised between June 1 and June 3, produced at KGM02451734,
             KGM02451731, and KGM02463551

      ̶      Email chain reflects edits from Keurig colleagues, produced at KGM02451729




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Plaintiffs’ Reply Brief Grouping of Walmart-Related Custodians

            In their Reply Brief, Plaintiffs try to bolster their hard drive arguments
             by grouping 5 custodians to argue spoliation as to Walmart: Tidwell,
             Hurley, Mueller, Smits and DiFabio

            All but DiFabio added as custodians specifically for McLane case in
             May of 2019

            Hurley (supply chain/forecasting). Left nearly a year before added as
             a McLane custodian. Not deposed. Keurig produced
             communications concerning Walmart from emails and attachments
             (62,464 of 109,431 hit on Walmart).

            Tidwell (supply chain, forecasting). Left more than three years before
             McLane filed suit. While his hard drive could not be located, Keurig
             produced 44,863 documents from his custodial files, including 419
             from his home share.


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Plaintiffs’ Reply Brief Grouping of Walmart-Related Custodians

            Smits: Led the Walmart Customer Focused Team for 18 months (Jan 2012-
             July 2013). Left Keurig 8 months before TreeHouse filed. Keurig produced
             13,657 documents from his custodial files, with 606 documents from home
             share that spanned entire employment, including a folder for Walmart
             meeting recaps.

            Mueller: Led the Walmart Customer Focused Team for 16 months (Oct.
             2013 – March 2015). Keurig produced his massive email collection (34,301
             documents), averaging nearly 1,225 per month.

            DiFabio: Keurig produced 280,105 documents from DiFabio’s custodial
             files, including three computers, email, and 3,716 documents from home
             share spanning his entire employment during the Relevant Time Period.
             Testified that his team saved everything to the shared drive, and Mueller
             and Smits were part of his team. Also collected and produced from entire
             contents of a “rdifabio” shared folder and other shared folders utilized by
             DiFabio and his team.

            Plus, Walmart produced 6,636 documents and provided three 30(b)(6)
             witnesses for deposition.

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Damaged Hard Drives




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           Keurig Produced from Duplicative and Overlapping
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            Sources for Custodians With Damaged Hard Drive

 Keurig produced documents from network drives for all six custodians –
  Billings, DuLong, Huang, Rathke, Shepard and Stacy
   ̶   Example 1: Keurig produced 804 documents from DuLong’s home share and
                  another 4,369 from the “corporate communications” shared folder
                  where she testified she stored her business documents
   ̶   Example 2: Keurig produced over 1,100 documents from Billings’ home share

 Huang, Rathke, Stacy had responsive documents produced from
  last-in-time hard drives

 Shepard copied his entire Keurig-issued computer just before leaving
  Keurig and produced over 2,200 documents from that external hard drive


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Plaintiffs Stipulate that They Received Substantial Number
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            of Documents from these Custodians


         Custodial Documents Custodial Documents
          Produced by Keurig  Plaintiffs Stipulate

                           105,424                              80,802
                           106,561                              84,465
                             85,388                             84,388
                           108,070                            107,125
                           156,149                            109,399
                           125,477                            107,922


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                 Fran Rathke and Michelle Stacy Case Study


                    Illustrates that, because of Keurig’s policies and system design, it
                     is unlikely that the hard drives at issue would contain unique and
                     material information not otherwise collected

                    Efforts as to the third Rathke drive (the oldest) yielded only 11
 Fran Rathke         documents, and none are unique and material to this litigation

                    Documents from fourth Stacy drive included email files that did
                     not automatically de-duplicate due to formatting

                    None of these documents used in depositions, Daubert motions,
                     expert reports, or summary judgment filings, which span
Michelle Stacy       thousands of exhibits




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                              Michelle Stacy Daily Reports

                  Focus on Ms. Stacy’s “daily report” emails and attachments in
                   Plaintiffs’ Reply Brief is misplaced—
                     No commentary or discussion, just data extracted from Keurig’s financial
                       databases

                     Keurig produced voluminous transactional data directly from its financial
Michelle Stacy         databases

                     These “daily reports” are not unique; Keurig produced almost 2,800 just like
                       these from other custodians

                     Exhibits K, L, and M – Plaintiffs’ claimed proof – all data in transactional data

                     Keurig produced the exact same reports that Plaintiffs claim are unique and
                       material as Exhibit K and M, in the Sturm litigation and in this case

                     Plaintiffs had all Stacy hard drive documents (not just the daily reports) for
                       three months prior to Ms. Stacy’s deposition, yet did not introduce a single one


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                                                        “Missing” Daily Reports

                                                                                                                           ECF 1402-4, Pls. Ex. K




                                                                                                                     Duplicate - KEURIG03790822




SOURCE: ECF 1402-4, Pls. Ex. K; KEURIG03790822                                                                                                      43
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                                                        “Missing” Daily Reports
                                                                                                                       ECF 1402-6, Pls. Ex. M




                                                                                                                Duplicate - KEURIG03790273




SOURCE: ECF 1402-6, Pls. Ex. M; KEURIG03790273                                                                                                  44
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 Plaintiffs Attempt to
Manufacture Prejudice




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Plaintiffs Attempt to Manufacture Prejudice in their Opening Brief
      Plaintiffs’ Specific DiFabio Argument Underscores No Prejudice

           Fiction: Plaintiffs hypothesize that “[g]iven Mr. DiFabio’s testimony,” data from his
           inaccessible hard drives would likely have supported TreeHouse’s claim by showing
           evidence of an oral exclusive agreement with Walmart

          Fact: Plaintiffs’ speculation is not evidence and is directly contrary to the record evidence
             ̶    DiFabio’s testimony cited by Plaintiffs says nothing about where he stores documents,
                  let alone that he stored documents on his hard drive or memorialized any such
                  exclusive oral agreement
             ̶    Plaintiffs took a two-day deposition of Mr. DiFabio and never once asked him whether
                  he memorialized this alleged exclusive agreement in writing and saved these notes on
                  his hard drive
             ̶    Mr. Mueller testified that no such agreement existed, and Walmart testified the same
             ̶    Plaintiffs have not pointed to a single document they are missing in connection with
                  Keurig’s communications with Walmart, which itself produced documents and sat for
                  a multi-day deposition

            NO BASIS FOR PLAINTIFFS TO ASSERT PREJUDICE
                                                                                                           46
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Plaintiffs Attempt to Manufacture Prejudice in Their Reply Brief

           Fiction: Plaintiffs are missing crucial documents from Bruce Godfrey
           as to his and his consumer insight group research showing that
           consumers did not want the Keurig 2.0 Brewer.

           Fact: Keurig has produced Mr. Godfrey’s research from his emails, his
          home share and from the research libraries maintained by his
           department – the Consumer Insights Group.

                ̶   In addition to emails, Keurig produced a stipulated 3,045 documents from his
                    home share that span his entire employment during the Relevant Time Period

                ̶   Keurig also produced 3,416 documents from “Consumer Insights Research
                    Library” shared folder and 274 documents from “Shared Insights Library”
                    shared folder following de-duplication and manual review for responsiveness.

                ̶   Undisputed that Godfrey’s June 2016 memo was collected from at least 3
                    sources and produced multiple times – as well as drafts

           NO BASIS FOR PLAINTIFFS TO ASSERT PREJUDICE
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Plaintiffs Fail to Link Requested Relief of Preclusion Order to Loss or Prejudice

         Plaintiffs seek preclusion order on Keurig’s subjective intent in
          filing the Sturm Litigation, claiming “[a]t least three of the
          custodians with spoliation issues were involved in the decision
          to file the Sturm Litigation”
           ̶   No loss alleged as to           , and Keurig produced material from
               and            previously inaccessible hard drives, none of which have
               Plaintiffs identified as unique and material


         Plaintiffs seek to preclude Keurig from “establishing the purported
          procompetitive justifications for Keurig’s exclusivity provisions in
          its supplier contracts,” presumably based on the loss of Don
          Holly’s hard drive
           ̶   Holly left Keurig before the lawsuit was even filed—so before any
               preservation obligation

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                   Without Loss or Prejudice, Plaintiffs Nonetheless Want to Argue
                   Spoliation to the Jury and Request Relief of Monetary Sanctions
                                                                   Plaintiffs say they “[a]t the very least” should be able to
                                                                    argue Keurig’s spoliation generally at trial, citing again to
                                                                    only their Sturm example
                                                                     ̶   Again, no loss from         and nothing unique or material on
                                                                                and          previously inaccessible hard drives

                                                                                 testified that he was not involved

                                                                           •   Tr. 134:24-135:4 (“ Do you have any recollection of Keurig suing
                                                                               Sturm?     Now you mention it, I think that did happen, but I was not
                                                                               involved.    You were not involved in that litigation?   Correct.”)

                                                                           •   Tr. 136:6-10 (“    Do you recall any discussions -- being part of any
                                                                               discussions at Keurig about whether or not Keurig should sue Sturm
                                                                               for patent infringement?       No, I don't recall being part of any of
                                                                               those discussions, if they happened. “)

                                                                   Presentation of evidence and argument to jury is a
                                                                    “serious measure” that is not appropriate unless all
                                                                    elements of Rule 37(e) are satisfied
                                                                   Plaintiffs’ request for monetary sanctions also fails
                                                                    because they have not made showing under Rule 37(e)(1)
SOURCE: Reply Brief, ECF 1390 at 10                                                                                                                     49
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          Magistrate Judge Pitman Has Rejected Plaintiffs’
           Attempt at Fee-Shifting on Privilege Dispute
 Plaintiffs make passing reference in a footnote to their challenges to Keurig’s
 privilege logs years ago, citing back to a July 23, 2019 letter in which they
 complained about Keurig’s production of a subset of approximately 4,300
 challenged documents pursuant to the 502(d) Order

 Magistrate Judge Pitman encouraged the parties to agree on the Rule 502(d)
 order entered in this case

 Plaintiffs now seek sanctions based on Keurig producing privileged
 documents pursuant to that 502(d) order—specifically its production to
 reduce the number of documents for review by Special Master Jones

 Magistrate Judge Pitman allocated Judge Jones’ fees equally among the
 parties, ECF 678—rejecting Plaintiffs’ request that “the Court order Keurig
 to cover the Special Master’s costs in full, as well as the fees and costs
 associated with these privilege disputes” (ECF 667)
                                                                                         50
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  None of Plaintiffs’ Shifting
Positions Show Intent to Deprive




                                                                                51
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       Plaintiffs Cannot Show Intent to Deprive Required
           Under Rule 37(e)(2) for Adverse Inference

 Plaintiffs’ Original Theories Have No Merit
   ̶ Remedy “Ticketing System”
        • Used to organize work tickets placed with the IT service desk
        • Not a chain-of-custody system
   ̶   Encryption Systems
        • When collection began in 2018, Keurig re-learned the old system and
          unlocked numerous McAfee-encrypted drives with assistance of McAfee
          in this effort
        • Not true that data is deleted and “lost forever” from a Bitlocker hard
          drive if it is not decrypted or connected to the network within 30 days

 Plaintiffs’ New Reply Brief Theories Equally Flawed
   ̶   Degnan 2012 Email
   ̶   Challenged Interviews
   ̶   Supplemental Transactional Data Production
   ̶   “Conscious Dereliction” of Known Duty

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              Plaintiffs Have Twice Lost Their Unsupportable
                 Interpretation of the 2012 Degnan Email
   Plaintiffs argue again the 2012 email of former GC Degnan
   In January 2020, Plaintiffs argued to obtain Degnan’s files and deposition based on
    a 2012 email
   Your Honor denied Plaintiffs’ request because Plaintiffs failed to show the burden
    of the discovery was outweighed by the likelihood of finding relevant, non-
    cumulative, non-privileged documents (ECF 750 at 1-2)
     ̶   Judge Broderick affirmed and reminded Plaintiffs the deposition request was denied
         without prejudice (ECF 1081 at 4)
     ̶   Plaintiffs never moved for a deposition, yet now ask for sanctions more than a year later

   New arguments also flawed:
     ̶   Adding a third party Sagentia document
             Plaintiffs try to argue Keurig anticipated litigation in 2012
     ̶   And argue Degnan should have responded to another email related to his 2012 email—
         which was not even sent to him.
                                                                                                     53
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              No Prejudice from Challenged Interviews


 Plaintiffs challenge the interviews of 11 Keurig custodians
  (10 former employees)

 Produced documents in their personal possession in response to
  Plaintiffs’ document subpoenas before their depositions

   ̶   McCall produced his personal notebooks;

   ̶   Ferreira produced three PowerPoint presentations found on
       his personal computer; and

   ̶   DiFabio produced one document (his stock award agreement)




                                                                                         54
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               No Prejudice from Challenged Interviews

 Testified that they did not retain any material after they left Keurig
            Dep. Tr. at 43:23-44:19 (advised counsel, during his custodial interview, that he did
     not retain documents relevant to this litigation), ECF 1340-11;
          Dep. Tr. at 258:16-19 (“[w]hen I left Green Mountain, one of the conditions of the
     agreement was that I not keep any documents related to my work at Green Mountain, and I
     have abided by that.”), ECF 1340-21;
           Dep Tr. at 16:9-12 (retained “only documents that were in the public domain” and “left
     everything else at Keurig”), ECF 1340-22;
             Dep. Tr. at 46:3-48:1 (“took nothing” and left behind all Keurig-related material), ECF
     1340-23;
              Dep. Tr. at 38:16-18 (had no files from his time at the company), ECF 1340-17;
              Dep. Tr. at 508:7-12 (turned over his computer to HR when he left the company),
     ECF 1340-16

 Had contracts with Keurig requiring them not to take documents with
  them, such as
                                                                                                       55
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                             Plaintiffs’ 2017 Position on Keurig Former Employees

                                                                      Plaintiffs say former employee documents do
                                                                       not belong to Keurig:




SOURCE: Winston & Strawn Letter - 12/4/17                                                                             56
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               Keurig Did Not Violate the ESI Protocol Regarding Custodial Interviews




                                                                            By 2018, when the parties identified initial custodians and
                                                                             began productions, nearly all of the Keurig custodians had
                                                                             left the company—23 of the original 29 and 11 of
                                                                             additional 12
                                                                            Another 10 added for McLane case in May 2019 (8 formers)
                                                                            3 others added during discovery (2 formers)
                                                                            These former employees no longer had access to Keurig’s
                                                                             email, document servers or computers. Their electronic
                                                                             data with Keurig’s IT department; hard copies (if any) with
                                                                             Keurig’s Legal Department

SOURCE: Joint Electronic Discovery Submission No. 1 and Order (ECF 41)                                                                     57
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                          Plaintiffs Rejected Keurig’s Offer of a Reciprocal Exchange
                            of Former Employee Custodian Interview Information
                                                       Keurig conducted custodial interviews of all former
                                                        employee custodians that it was able to contact and
                                                        informed Plaintiffs in November 2019 that it had
                                                        conducted these interviews




                                                       Plaintiffs did not make such disclosure (Stip, ¶ 64)

                                                       Keurig produced more than 675,000 documents from
                                                        these 10 challenged former employees’ custodial files,
                                                        including their electronic files and emails



SOURCE: ECF 1284-4, Pls. Ex. 4                                                                                   58
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Plaintiffs Obtained the “Spoliated” Notebooks of Yoder and McCall

              Yoder and McCall

                 Undisputed that Plaintiffs received the notebooks, so no loss of
                   tangible evidence and therefore no spoliation

                 Keurig alerted Plaintiffs of the Yoder notebooks immediately
                   upon learning about them and reimbursed TreeHouse for fees
                   associated with postponing Yoder’s September 18 deposition

                 Yoder’s deposition was rescheduled just weeks later to
                   September 30, October 1, and adding a third day on October
                   8—still five months before the then-close of fact discovery.

                 Mr. McCall’s deposition was rescheduled for sixteen days later;
                   Keurig offered to share costs associated with the rescheduling,
                   but JBR did not take Keurig up on its offer and JBR did not join
                   this motion

                                                                                         59
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          Plaintiffs Ignore Ferguson’s Record Testimony In Claiming Missing Notes
                                               3             Q:   In your meetings with retailers, would you
                                               4     take notes?
                                                                                                                Feb. 28, 2020
                                               5             A:    Not really, not that I can recall.
                                                                                                                449:3-5

                                               9             Q:   Did you take any notes --
                                               10            A:   I don't -- I don't --
                                               11            Q:   -- at retailer meetings?
                                               12            A:    I don't remember.
                                               13            Q:    You never took a single note, a single
                                               14    handwritten note in any retailer meeting?
                                               15            A:    It's very possible.
                                               16                  MS. SOUTHALL:   Objection as to form.
                                               17            A:    It's very possible.    I just don't recall
                                               18    exactly whether or not I did or not.
                                               19            Q:    Did you have notebooks?
                                               20            A:    I believe I did have notebooks going back.
                                               21    But, again, I can't remember when I -- I'm not a
                                               22    good, consistent user of notebooks, so I don't
                                               23    recall if I had one at any given time or not.              Feb. 28, 2020
                                                                                                                449:9-23
                                              10             A:    Again, it's possible. I just don't recall
                                              11     whether or not I had specific notes at any given
                                              12     time.
                                                                                                                Feb. 28, 2020
                                                                                                                450:10-12
SOURCE: ECF 1340-16, Keurig’s Ex. 16                                                                                            60
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           Plaintiffs Ignore Barberio’s Record Testimony In Claiming Missing Notes
                                       21         Q:    an you briefly describe your
                                       22    practice or protocol for note taking at the
                                       23    meetings in which you would take notes?
                                       24         A: I wasn't -- I wasn't a big note
                                       25    taker, so I never had pages of notes. The
                                       2     meetings -- a lot of meetings were long. I
                                       3     doodled, like people are doing probably right
                                       4     now.
                                       5               And if anything -- I mean
                                       6     anything that had any meat on the bone, I
                                       7     mean that was -- that would go to Tom
                                       8     Ferguson. Tom would be waiting for me to
                                       9     walk out anyway. So he would say, what were
                                       10    the meeting highlights?
                                       11              So anything that would be a
                                       12    highlight from the meeting, Tom would have.                         Jan. 24, 2020
                                                                                                                 381:21-382:12


SOURCE: ECF 1340-17, Keurig’s Ex. 17                                                                                             61
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The Meetings Pre-Date Keurig’s Preservation Obligation

      Stipulated dates of relevant meetings (Stip ¶ 183)
        ̶   Giant Eagle on July 17, 2013
        ̶   Wakefern on November 7, 2013
        ̶   Ahold on February 11, 2014
        ̶   Kroger in August 2013 and November 2013
      All but one pre-date TreeHouse’s lawsuit and Keurig’s
       preservation obligation; the meeting with Ahold was
       the same day that TreeHouse filed its Complaint
      Documents produced from his files include communications
       regarding these alleged lost customers
      Keurig also produced documents from other custodians
       regarding these five meetings


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                                  Barberio Did Not Throw Notes Away in June 2014


                                 13         Q:   And then any additional color             4         EXAMINATION BY MR. RUSS
                                 14    from the meeting that was in your notebook --       5         Q:   You just said to the extent you
                                 15    in your binder -- was thrown out at the end         6   may have thrown out meeting notes they would
                                 16    of your employment with Keurig, correct?            7   have been thrown out the next day or soon
                                 17         A:   No.   I think it was thrown out           8   thereafter?
                                 18    the next day, after the meeting.    I didn't        9         A:   Let's put -- I just -- what I
                                 19    hold on to scratches on a pad.                     10   wanted to say was I didn't hold onto them and
                                 20         Q:   Uh-huh.   Do you recall any other        11   throw them out the day I left.
                                 21    laptops that you had in connection with your       12         Q:   Okay.
                                 22    work at Keurig besides the one that you            13         A:   It was -- it was notes at a
                                 23    turned into Tom Ferguson and someone from HR?      14         meeting and after those notes were delivered
                                 24         A:   No.                                      15         to Tom verbally or e-mail, whatever, I didn't
                                 25         MS. TORPEY:    Okay.   I have no              16         hold onto them.
                                  2    more questions.
                                  3          THE DEPONENT:   Thank you.
                                                                                          Jan. 24, 2020, 390:13-391:16




SOURCE: ECF 1340-17, Keurig’s Ex. 17                                                                                                                 63
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         Plaintiffs Ignore Whoriskey’s Record Testimony In Claiming Missing Notes

                                        20       A:   Anything that I felt like retaining would have
                                        21       ultimately been on my computer. But I never took
                                        22       notes -- I never had a notebook that I retained.         Dec. 11, 2019
                                                                                                          100:20-22

                                        19               Q:   When you went to meet with customers, did
                                        20       you take notes on a notepad?
                                        21               A:   Not -- not -- I suppose I could have done
                                        22       that.    I don’t recall specific situations where I’d
                                        23       be in meetings taking notes.                             Dec. 11, 2019
                                                                                                          103:19-23



                                        Plaintiffs now claim in their Reply Brief that Mr. Whoriskey should
                                             have retained notes from a Roaster Advisory Council
                                             ̶    Only one Council meeting in the Relevant Time Period—August
                                                  2009—and Whoriskey was not in attendance


SOURCE: ECF 1340-18, Keurig’s Ex. 18                                                                                      64
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      Plaintiffs Seek to Recover Costs For Keurig’s Supplemental
          Transactional Data Production Yet Ignore The Facts
   February 2020: Plaintiffs accused Keurig of “failing to ensure that its original production of transactional
    data was accurate and complete” and putting their experts in an “impossible position,” ECF 769
        Keurig produced its transactional data in the correct format with correct data fields but it was missing certain rows
         from purchase orders with multiple lines
        Keurig did not delay disclosure for 5 months; Keurig conducted a detailed analysis and investigation of the issues

   March 6: At Plaintiffs’ request, Court ordered Keurig’s data production by March 19, ECF 839
   March 17: Keurig completed supplemental production ahead of deadline
   March 19: TreeHouse produced all of its transactional data, “corrected” for 2011 to 2017 and with
    “additional information” for 2010 to 2011
        Corrected, revised, and additional data produced without any advance notice to Keurig or disclosure to the Court in
         March 6 hearing
        Included multiple new fields never before disclosed, including on TreeHouse’s discounts, rebates, and allowances
        Keurig’s experts were already working with TreeHouse’s previously produced data

   March 26: McLane produced some of its 2018-19 sales data, one week after the court-ordered deadline of
    March 19 with no warning or explanation for the delay
   May 22: McLane produced additional information fundamental to understanding that data, such as which
    products in its data are portion packs
                                                                                                                                 65
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    Plaintiffs Rehash Long-Resolved Complaints About CommVault


    Concerned the collection – not preservation – of archived emails from CommVault for
     the original 29 Keurig custodians

    Keurig advised Plaintiffs of the issue in an August 6, 2018 meet-and-confer and an
     August 7, 2018 letter

    Keurig worked hard to resolve the issue, and did so by October 2018

    No loss or prejudice to Plaintiffs occurred as a result of this issue

    Plaintiffs attempt to hold Keurig to a non-existent standard of perfection, while failing
     to acknowledge their own discovery issues:
      ̶   McLane produced 115,000 documents in November 2019, two months after its deadline,
          after initially failing to search central file locations for responsive materials regarding
          downstream K-Cup sales

      ̶   TreeHouse produced 1,600 new files for Adam Spratlin, TreeHouse’s Director of Engineering,
          two months after his deposition and just prior to the close of party fact discovery
                                                                                                        66
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               No Conscious Dereliction of A Known Duty

 Plaintiffs alternatively argue intent to deprive for 37(e)(2) through claimed
  “conscious dereliction of a known duty to preserve”

 Plaintiffs’ list of alleged preservation failures is not supported by the record

 Plaintiffs claim broad and sweeping deficiencies and argue that the breadth
  of their claims = Keurig’s dereliction of duty

 Keurig argues that Plaintiffs’ broad and sweeping claims illustrate their lack
  of substance or support

 Looking at Plaintiffs’ alleged proof of claimed lost evidence, primarily
  provided in their Reply Brief, demonstrates the lack of substance/support
  to their motion for spoliation/sanctions


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Plaintiffs’ Cited Cases Rely On Intentional Destruction,
 Fabrication or Misrepresentations Not Present Here
 In re Gorsoan Ltd., (S.D.N.Y. June 15, 2020) (party intentionally spoliated evidence in bad
     faith when she misled the Court, lied under oath and “d[id] everything in her power
     to evade her discovery obligations,” including destroying a laptop just before she
     was deposed)

 Karsch v. Blink Health Ltd., (S.D.N.Y. June 20, 2019) (finding spoliation when plaintiff’s law
    firm lost two hard drives and a laptop of defendant’s general counsel and made
    misrepresentations to the Court regarding the devices and attempted to cover-up
    its preservation failures);

 Moody v. CSX Transportation, Inc., (W.D.N.Y. 2017) (finding spoliation when defendant
   failed to confirm access to train’s black box recorder data in a storage vault before
   intentionally destroying the computer that housed the data and then admitting
   that the lost ESI would have conclusively determined a dispositive issue in the
   litigation).

   As for Plaintiffs’ out-of-circuit cases, they also involve “affirmatively deceitful” acts
    including lies to the Court for litigation benefit, Glob. Material Techs., Inc. v. Dazheng
    Metal Fibre Co., (N.D. Ill. Sep. 13, 2016), or the intentional fabrication of evidence,
    Miller v. Thompson-Walk, (W.D. Pa. May 17, 2019)

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